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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
-Vv- 22-cr-352 (JSR)
JATIEK SMITH et al., ORDER

Defendants.

JED S. RAKOFF, U.S.D.d.:

On January 11, 2024, pro se defendant Jatiek Smith submitted a
motion, through his standby counsel, requesting a four-day release
from pre-verdict detention in order to attend his daughter’s sixteenth
birthday party. On January 15, 2024, the Government submitted its
response opposing Mr. Smith’s request. Although the Court is
sympathetic to Mr. Smith’s wish to attend this familial occasion, the
request must still be denied essentially for the reasons set forth in
the Government’s papers.

SO ORDERED.

new York, Wy \ rd PtokK—

January |(b , 2024 /) S \RAKOFF, UUALD.O.

